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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.                                            Case No. 21-cr-40-05

ROBERT MORSS

     Defendant.

                       GOVERNMENT’S REPLY TO
          SENTENCING MEMORANDUM OF DEFENDANT ROBERT MORSS

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby replies to the Sentencing Memorandum submitted by defendant

Robert Morss on May 17, 2023.           Defendant Morss seeks a significant and unsupported

downward variance by asking the court to effectively throw out the entire Sentencing Guidelines

calculation for Robbery, 18 U.S.C. § 2111, despite having agreed to the elements of the offense

and having admitted to the facts of the robbery during his stipulated trial on August 23, 2022.

The defendant further attempts to analogize his conduct to codefendant David Judd – an

individual who admitted guilt to a different set of offenses – in an effort to minimize his conduct.

Defendant Morss is not similarly situated to Judd and the Court should reject the inapt

comparisons between these two codefendants. As previously discussed in the Government’s

sentencing memorandum [ECF No. 622], the case of codefendant Geoffrey Sills provides a more

useful comparator, although defendant Morss’s Sentencing Guidelines are higher and his

sentence should reflect that reality.




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   I.       Defendant Morss’s Robbery Conviction Should Be Included in his Sentencing
            Guidelines Calculation

         In his sentencing memorandum, defendant Morss asks the court to discard the entire

Sentencing Guidelines calculation for his conviction for Robbery, in violation of 18 U.S.C. §

2111, claiming that the “conviction appears to be flawed” for a variety of reasons.            The

defendant’s position is unsupportable in fact and law.

         In the first instance, as part of his stipulated trial on August 23, 2022, Morss agreed in

writing with elements of the robbery offense as set forth in the Statement of Facts [ECF No. 430,

at 1-2]. He also admitted to the underlying facts of the robbery including that,

         At approximately 3:05 p.m. [he]…struggled over a police department-issued
         shield from the person of Metropolitan Police Department Detective P.N., who
         was defending the entrance door to the U.S. Capitol. Defendant Morss ultimately
         wrested the shield from the immediate and actual possession of Detective P.N.
         and then passed the shield back in the tunnel, out toward the rioters on the
         inaugural stage.

[ECF No. 430, at ¶ 21]. In addition, Morss agreed in writing that, “If the Court finds the

existence of these facts beyond a reasonable doubt, the defendant stipulates that this evidence

would establish each and every element of the charged offenses for Counts 20 [Robbery], 27,

and 34…” [ECF No. 430, at 10]. In light of the stipulated facts and elements, and the fact that

the Court found the defendant guilty of this offense, his arguments seeking to discard the robbery

calculation appear to be a procedurally dubious method of challenging his conviction on this

count.

         Among his numerous complaints about the validity of Count 20, the defendant claims

that § 2111 is inapplicable to his conduct because “the District of Columbia is not such a special

jurisdiction” under the statute. This conclusory statement relies on a narrow interpretation of the

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statute, which the United States does not concede, and ignores the reality that the defendant’s

conduct took place at the U.S. Capitol Building, a “needful building” as provided for in 18

U.S.C. § 7(3). The statute defines the special maritime or territorial jurisdiction of the United

States as:

        Any lands reserved or acquired for the use of the United States, and under the
        exclusive or concurrent jurisdiction thereof, or any place purchased or otherwise
        acquired by the United States by consent of the legislature of the State in which
        the same shall be, for the erection of a fort, magazine, arsenal, dockyard, or other
        needful building.

        In Morss, the United States Capitol Building and Grounds are lands reserved for the use

of the United States. See U.S. Const. Art. 1, Sec. 8, Clause 17 & Article 4, section 3, clause 2;

40 USC 193a (note map available at https://www.loc.gov/resource/g3852u.ct005312/?r=-0.746,-

0.027,2.491,0.855,0); see e.g. 2 USC § 1811 (detailing the powers and duties of the Architect of

the Capitol); 2 U.S.C. § 1812 (providing for the federal care and superintendence of the Capitol);

and 2 U.S.C. § 1961 (designating the USCP as responsible for policing Capitol Building and

Grounds). A court may take judicial notice that a particular place falls within the special

maritime and territorial jurisdiction of the United States; this is a legal question that does not

require evidence to be submitted to the finder of fact. The factual question for the finder of fact

is whether the crime occurred in that place. United States v. Love, 20 F.4th 407, 410-12 (8th Cir.

2021); United States v. Davis, 726 F.3d 357, 367-68 (2d Cir. 2013); United States v. Hernandez-

Fundora, 58 F.3d 802, 810 (2d Cir. 1995); United States v. Bello, 194 F.3d 18, 26 (1st Cir. 1999)

(“More generally, numerous Courts of Appeals have upheld judicial notice that a location is

within the jurisdiction of the United States. Hernandez-Fundora, 58 F.3d at 811 (2d Cir.)

(federal penitentiary); Bowers, 660 F.2d at 531 (5th Cir.) (federal penitentiary); See Piggie, 622

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F.2d at 487-90 (10th Cir.) (federal penitentiary); United States v. Lavender, 602 F.2d 639, 641

(4th Cir. 1979) (federal highway); Blunt, 558 F.2d at 1247 (6th Cir.) (federal penitentiary);

United States v. Hughes, 542 F.2d 246, 248 n. 1 (5th Cir. 1976) (military base); United States v.

Anderson, 528 F.2d 590, 591-92 (5th Cir. 1976) (per curiam) (federal penitentiary); United

States v. Benson, 495 F.2d 475, 481 (5th Cir. 1974) (military base); United States v. Miller, 499

F.2d 736, 739-40 (10th Cir. 1974) (federal penitentiary); Hayes v. United States, 367 F.2d 216,

218 (10th Cir. 1966) (federal penitentiary).”)

       The defendant additionally takes issue with his conviction under 18 U.S.C. § 2111

because apparently the Court did not consider the intent element applicable to an offense in

violation of 18 U.S.C. § 2112. It is entirely lost on undersigned counsel why the defendant

believes that the Court should have imported the elements of an entirely different offense when

determining whether Morss violated § 2111. Nonetheless, that appears to be his argument. In

reply, the United States notes that the defendant was found guilty after he “knowingly” obtained

property through the actual or threatened use of “force, violence, or intimidation to obtain the

property.” [ECF No. 430, at 1]. Thus, his intent was to “knowingly” obtain property that he was

not entitled to and he used force, violence, or intimidation to carry out his objective. This

satisfies the elements of § 2111 as charged.

       Irrespective of whether the defendant later appeals or collaterally attacks his convictions,

for present purposes he stands guilty of Robbery, in violation of 18 U.S.C. § 2111. Thus, the

court should include the Sentencing Guidelines calculation for Robbery as outlined in the

Presentence Report [ECF No. 642, at ¶¶ 67-73] and the Government’s Sentencing Memorandum

[ECF No. 622, at 15]. The United States agrees with the Presentence Report that the correct

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calculation for Count 20 results in a total offense level of 30.

   II.      Defendant Morss’s Comparison to Codefendant Judd is Inapt

         Defendant Morss further argues that sentencing him “more severely than [codefendant]

Judd would be nonsensical” because “they are co-defendants convicted of the same offenses and

for conduct that occurred in the same place and time.” [ECF No. 644, at 14]. This is factually

inaccurate. Codefendant David Judd was convicted of a single count of 18 U.S.C. 111(a) for

throwing a firecracker into the Lower West Terrace tunnel, and a single count of 18 U.S.C.

1512(c)(2). Unlike Morss, Judd was neither charged with nor convicted of Robbery. Judd’s

overall conduct on January 6th was less aggressive than that of Morss: he was charged with

fewer counts, he was convicted of fewer counts, and his Sentencing Guidelines were

understandably lower than those of codefendant Morss. In an effort to minimize his own

conduct, the defendant claims that he “spent approximately 15 minutes at the tunnel – less than a

quarter of Judd’s duration.” [ECF No. 644, at 14]. This statement ignores the full range of

Morrs’ conduct that day. While Morss may have spent roughly 15 minutes in and around the

vicinity of the tunnel, he was first identified on the Lower West Terrace at 2:09 p.m. attempting

to rob MPD Sgt. B.G. of his baton. Morss’ conduct continued through until approximately 3:45

p.m. when he was again captured on video climbing inside of the Capitol Building through a

broken window. For numerous reasons, the case of codefendant Judd is not an apt comparator

when considering the appropriate sentence for Morss.

         As described in our initial Sentencing Memorandum [ECF No. 622, at 27], the United

States submits that the case of codefendant Geoffrey Sills provides a useful comparator to Morss

in that they were both convicted of similar offenses in a stipulated trial. Further, the Court can

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also draw comparisons to codefendant Patrick McCaughy, who was convicted of multiple counts

of assaulting officers, including while using a dangerous weapon, along with the offense of

Obstruction of an Official Proceeding. In contrast to the conduct of Judd, the conduct of Sills

and McCaughey provide greater similarities to that of Morss.

    III.      CONCLUSION

           For the reasons set forth above and in its Sentencing Memorandum [ECF No. 622], the

United States asks that the Court resoundingly reject the defendant’s request to discard the

Sentencing Guidelines for Count 20 and not to rely on the inapt comparison with codefendant

David Judd. The United States maintains its request that the Court impose a sentence of 109

months’ incarceration, three years of supervised release, $2000 in restitution, and a mandatory

assessment of $300. This sentence is at middle of the defendant’s sentencing guidelines range

and reflects both his conduct, as well as his acceptance of responsibility by entering into a

stipulated trial.

                                             Respectfully submitted,
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                                             UNITED STATES ATTORNEY


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